                                          IN THE
                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )
                  Plaintiff,                      )
                                                  )
  v.                                              )       Criminal No. 4:18-CR-00011
                                                  )
  ASHLEY TIANA ROSS,                              )
                                                  )
                  Defendant.                      )


       NOTICE OF SUBMISSION OF PROPOSED TRIAL EXHIBITS BY ASHLEY ROSS

          Defendant Ashley Tiana Ross, by counsel, hereby provides notice that her proposed trial exhibits

  have been submitted this day on a USB drive via hand-delivery to the office of the Clerk of Court with a

  copy to the United States Attorney’s Office in Roanoke, Virginia.

                                                          Respectfully submitted,

                                                          ASHLEY TIANA ROSS

                                                          By      /s/Terry N. Grimes
                                                                 Of Counsel

  Terry N. Grimes, Esquire (VSB No. 24127)
  TERRY N. GRIMES, ESQ., P.C.
  320 Elm Avenue, SW
  Roanoke, Virginia 24016
  (540) 982-3711
  (540) 345-6572 Facsimile
  tgrimes@terryngrimes.com
         Counsel for Defendant




                                                      1

Case 4:18-cr-00011-MFU-RSB Document 858 Filed 10/03/19 Page 1 of 2 Pageid#: 5845
                                  CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was electronically filed with the Clerk of the

  Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

  CM/ECF system to all counsel of record, on the 3rd day of October, 2019.

                                                              /s/ Terry N. Grimes
                                                                  Terry N. Grimes




                                                  2

Case 4:18-cr-00011-MFU-RSB Document 858 Filed 10/03/19 Page 2 of 2 Pageid#: 5846
